Case 1:23-cr-00047-MHC-JEM Document 4 Filed 01/09/23 PIjEID ONOPEN COURT
U.S.D.C. Atlanta

FANT S-223-——
UNITED STATES DISTRICT COURT Kev pps short

® AO 470 (Rev. 8/85) Order of Temporary Detention

By: t r
NORTHERN District of GEORGIA ”
UNITED STATES OF AMERICA ORDER OF TEMPORARY DETENTION
PENDING HEARING PURSUANT TO
V. BAIL REFORM ACT
KRISTOPHER KNEUBUHLER Case 1:23-MJ-027
Defendant
Upon motion of the U.S. GOVERNMENT , it is ORDERED that a
detention hearing is set i/12 [ 23 * at LIS” pam
Date " Time
before Catherine M. Salinas
Name of Judicial Officer
Courtroom 1810, U.S. Courthouse 75 Ted Turner Drive, S.W. Atlanta., GA 30303
Location of Judicial Officer
Pending this hearing, the defendant shall be held in custody by (the United States marshal)
) and produced for the

Other Custodial Official

Date: San. 1, P0> 3 (Aare Ghar

Judicial Officer

“If not held immediately upon defendant’s first appearance, the hearing may be continued for up to three days upon motion of the Government, or
up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (1) sets forth the grounds that may be
asserted only by the attorney for the Government; subsection (2) states that a hearing is mandated upon the motion of the attorney for the Government
or upon the judicial officer’s own motion if there is a serious risk that the defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or
threaten, injure, or intimidate, or attempt to threaten, injure, or intimidate a prospective witness or juror.
